  Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 1 of 18




              IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

GOOD SPORTSMAN             §
MARKETING, LLC             §
        Plaintiff,         §                CASE NO. 4:23-cv-2371
                           §
vs.                        §
                           §
SHENG CHEN, HAIYING CHENG, §
AND CHEN ZUBANG            §
                           §
                           §                JURY DEMANDED
         Defendants.       §

             PLAINTIFF GSM’S RESPONSE TO
    DEFENDANTS’ MOTION FOR PRELIMINARY INJUNCTION
        Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 2 of 18




                                                 TABLE OF CONTENTS

BACKGROUND ........................................................................................................................... 2
   A.        Factual Background.......................................................................................................... 2
LEGAL STANDARD ................................................................................................................... 3
ARGUMENT ................................................................................................................................. 4
   A.    Defendants’ request for injunctive relief should be denied because is not based on any
   pleadings. .................................................................................................................................... 4
   B.        Defendants have not shown irreparable harm. ................................................................. 5
   C.        Defendants have not shown a likelihood of success on the merits. ................................. 9
   D.        The balance of harm favors GSM. ................................................................................. 15
   E.        The public interest weighs against an injunction. .......................................................... 15




                                                                         i
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 3 of 18




       Defendants’ request for injunctive relief is actually Defendants’ 12(b)(6) motion

disguised as a motion for preliminary injunction and should be denied on this basis alone.

GSM has sued Defendants, not vice versa, and Defendants have not asserted any

counterclaims against GSM on which they can request injunctive relief from the Court.

Moreover, Defendants have sought permission to file a Rule 12 motion to seek dismissal

of this case in its entirety, based on three arguments. These exact three arguments form the

basis for Defendants’ request for injunctive relief. This makes no sense. Defendants cannot

seek both seek dismissal of this case, while also asking the Court to enter an injunction in

this case in its favor. Moreover, this Court’s procedures clearly require a pre-motion

conference prior to the filing of a Rule 12 motion, and while Defendants have requested

this conference, the Court has not yet held the conference, meaning Defendants do not have

permission to file a Rule 12 motion, which is what their preliminary injunction motion

really is. Defendants also should not get two bites at the apple by making the same

argument in two different motions.

       Even assuming Defendants’ motion was procedurally proper, injunctive relief

should be denied. The Fifth Circuit and courts in this Circuit have repeatedly held that

injunctions are an extraordinary remedy and that granting injunctions is the exception,

rather than the rule. To receive such an extraordinary remedy, the movant must make a

clear showing that it will suffer irreparable harm—i.e., harm that cannot be remedied by

money damages—and that it will succeed on the merits of its case. Defendants’ short,

conclusory motion and the single party declaration it offers to support it, wholly fail to

meet this exacting standard. Indeed, Defendants have not offered any concrete or
                                             1
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 4 of 18




corroborating evidence to support their vague allegations of irreparable harm. On this

additional basis, Defendants’ speculative motion should be summarily denied.

                                    BACKGROUND

   A. Factual Background

       This is an action for copyright infringement of GSM’s federally registered

copyrights, trade dress infringement, and related state law causes of action. GSM is a

leading provider of sporting goods to hunters in North America. Since 2016, GSM has been

selling protective earmuffs for hunters and shooters. GSM owns two federal copyright

registrations protecting the design of the Walker® Razor® brand of electronic earmuffs,

and also owns the trade dress in the earmuffs. Since 2016, GSM has sold 4,500,000 units

of the Walker® Razor ®brand electronic earmuffs and consumers have come to associate

the distinct design of these earmuffs with GSM. See Dkt. 6, pp. 21-22.

       Defendants Chen, Cheng, and Zubang have been infringing GSM’s intellectual

property rights in the earmuffs by selling electronic copycat versions of GSM’s electronic

earmuffs on Amazon. The infringement is so blatant that GSM was successful in halting

the sales of the infringing earmuffs on Amazon.com. Dkt. 6, ¶ 33. The infringing earmuffs

are being sold under the brands ACT FIRE, HITAIM, FIREGEAR, and GLORYFIRE.

       GSM served all three Defendants with the First Amended Complaint on August 4,

2023. Dkt. 20, ¶¶ 2-4. Pursuant to this Court’s procedures, Defendants have requested a

pre-motion conference with the Court to seek dismissal of the First Amended Complaint

in its entirety, pursuant to Fed. R. Civ. P. 12. Dkt. 19. Defendants’ request for pre-motion

conference identifies three bases on which it will seek dismissal of GSM’s First Amended

                                             2
     Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 5 of 18




Complaint: (1) that GSM’s copyright claims improperly expand into the realm of patent

law, (2) that GSM has not sufficiently identified the elements of its trade dress, and (3) that

GSM’s state law claims are preempted by the Copyright Act. Dkt. 19, p. 1. As shown

below, these three arguments are the exact same arguments that form the basis for

Defendants’ request for injunctive relief. In other words, Defendants have used their

motion for injunctive relief to bypass this Court’s procedures on pre-motion conferences.

       Finally, Defendants’ request for injunctive relief is at odds with its request for

dismissal of the case. Defendants cannot simultaneously ask this Court to grant them

injunctive relief, while arguing that the case that forms the basis of their request for relief

is meritless.

                                   LEGAL STANDARD

       The Fifth Circuit has cautioned that granting a preliminary injunction “is an

extraordinary and drastic remedy, not to be granted routinely, but only when the movant,

by a clear showing, carries the burden of persuasion.” White v. Carlucci, 862 F.2d 1209,

1211 (5th Cir. 1989); see also Mississippi Power & Light Co. v. United Gas Pipe Line Co.,

760 F.2d 618, 621 (5th Cir. 1985) (“The decision to grant a preliminary injunction is to be

treated as the exception rather than the rule.”). To obtain a preliminary injunction, the

movant must make a clear showing of: (1) a substantial likelihood of success on the merits;

(2) a substantial threat of irreparable harm if the injunction is not granted; (3) that the

threatened injury to the movant outweighs any harm to the nonmovant that may result from

the injunction; and (4) that the injunction will not undermine the public interest.” MGE



                                              3
     Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 6 of 18




UPS Sys. v. Fakouri Elec. Eng’g, 2004 U.S. Dist. LEXIS 19274, at *3-4 (N.D. Tex. Sept.

28, 2004) (citing Roho, Inc. v. Marquis, 902 F.2d 356, 358 (5th Cir. 1990).

       The Fifth Circuit reviews a preliminary injunction for abuse of discretion, reviewing

findings of fact for clear error and conclusions of law de novo. Tex. All. for Retired Ams.

v. Scott, 28 F.4th 669, 671 (5th Cir. 2022).

                                       ARGUMENT

   A. Defendants’ request for injunctive relief should be denied because is not based
      on any pleadings.

       “Although the Fifth Circuit Court of Appeals has not specifically addressed this

issue, district courts within this circuit have found that a request for preliminary injunction

must also be based on allegations related to the claims in the complaint.” Booker v.

McDuffie, No. 5:18-cv-208-BQ, 2019 U.S. Dist. LEXIS 141283, at *3 (N.D. Tex. July 22,

2019) (internal citations omitted) (emphasis added); see also Omega World Travel Inc. v.

Trans. World Airlines, 111 F.3d 14, 16 (4th Cir. 1997) (explaining that the purpose of a

TRO is to protect the movant from being harmed in the manner in which he argues that he

was or will be harmed through the illegality alleged in the complaint). “The relationship

between a request for injunction and the underlying claims ‘is sufficiently strong where the

preliminary injunction would grant relief of the same character as that which may be

granted finally.” Amos v. Cain, No. 4:20-cv-7-DMB-JMV, 2021 U.S. Dist. LEXIS 52163,

at *22 (N.D. Miss. Mar. 19, 2021).

       Here, Defendants’ request for injunctive relief is not based on their allegations made

in any complaint because Defendants have not filed any complaint or counterclaims.


                                               4
     Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 7 of 18




Plaintiff GSM has sued Defendants, not vice versa. Defendants asking the Court for

injunctive relief at a stage where they have yet to even answer the live pleadings, let alone

assert counterclaims, is akin to if GSM had filed a motion for preliminary injunction with

this Court, without having filed a complaint. The procedural impropriety of Defendants’

motion is evidenced by the fact that they argue for injunctive relief on the basis that GSM

is unlikely to succeed on the merits of its case, even though the preliminary injunction

standard requires showing that the movant is likely to succeed on the merits of its case. See

Dkt. 18 at 3-4 (“Plaintiff Does Not Have a Likelihood of Success on Its Claim of Copyright

Infringement” and “Plaintiff Does Not Have a Likelihood of Success on Its Lanham Act

Claim.”). Defendants cannot argue that they are likely to succeed on the merits of their case

because they have no case—at this stage Defendants are merely defending against GSM’s

allegations.

       Defendants’ arguments that GSM is unlikely to succeed on the merits are essentially

arguments that GSM’s claims do not meet the 12(b)(6) standard. Indeed, in a letter to the

Court, Defendant identified the three bases on which it will seek dismissal of GSM’s First

Amended Complaint. These three bases are identical to the three arguments Defendants

made in their motion for preliminary injunction. Compare Dkt. 19, p. 1 with Dkt. 18, pp.

3-6. Thus, Defendants’ motion is merely an attempt to bypass the Court’s rules on pre-

motion conferences for Rule 12 motions and should be denied on this basis alone.

   B. Defendants have not shown irreparable harm.

       Turning to the merits of Defendants’ request, injunctive relief should be denied for

several reasons, beginning with the fact that Defendants have completely failed to show

                                             5
     Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 8 of 18




they will be irreparably harmed absent injunctive relief. Because Defendants have only

offered a meager three sentences to support their claim of irreparable harm, the inquiry will

begin, and should end, with this factor.

       “An irreparable injury is one that cannot be undone by monetary damages or one

for which monetary damages would be especially difficult to calculate.” Heil Trailer Int’l

Co. v. Kula, 542 F. App’x 329, 335 (5th Cir. 2013) (footnotes and quotations omitted).

Critically, the movant carries the burden of persuasion to show irreparable harm and an

injunction cannot be granted without this showing. PCI Transp. Inc. v. W.R.R. Co., 418

F.3d 535, 545 (5th Cir. 2005).

   1. Defendants Sheng Chen and Chen Zubang failed to argue irreparable harm.

       Defendants Sheng Chen and Chen Zubang have not offered a single argument or

piece of evidence to support their claim of irreparable harm, and thus have waived this

argument. See, e.g. Jones v. Cain, 600 F.3d 527, 541 (5th Cir. 2010) (“Arguments raised

for the first time in a reply brief are generally waived.”).

       The entirety of Defendants’ motion only contains one conclusory sentence to

address the dispositive irreparable harm factor: “There is a substantial threat that

Defendants in this case will suffer irreparable injury.” Dkt. 18, pp. 6-7. This sentence is

supported only by the Declaration of Defendant Haiying Cheng, which states that

Defendant Cheng is being irreparably harmed. See Dkt. 18-1, ¶ 8 (I am suffering

irreparable harm to my ACTFIRE brand…” and “Not only am I being harmed due to the

lack of sales but the removal of my listings is harming the reputation of my business

activities.”) (emphasis added). Defendant Cheng’s declaration cannot and does not speak
                                               6
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 9 of 18




to any alleged irreparable harm to Defendants Chen and Zubang. Thus, there is no

evidentiary support in the record to suggest that Defendants Chen and Zubang will be

irreparably harmed, and their request for injunctive relief should be denied on this basis

alone. Nabors Drilling Techs. USA, Inc. v. Helmerich & Payne Int’l Drilling Co., 2022

U.S. Dist. LEXIS 29431, at *8 (N.D. Tex. Feb. 18, 2022) (“A court may deny a preliminary

injunction based on the absence of a single element alone, without reaching the other

elements.”).

   2. Defendant Cheng has wholly failed to demonstrate irreparable harm.

       Defendant Cheng offers only three sentences in his declaration to support his

argument for irreparable harm:

       I am suffering irreparable harm to my ACTFIRE brand due to the DMCA
       Complaint. This harm is immeasurable. Not only am I being harmed due to a lack
       of sales but the removal of my listings is harming the reputation of my business
       activities.

Dkt. 18-1, ¶ 8.

       Defendant Cheng’s vague, conclusory statements are wholly insufficient to meet the

exacting standard for irreparable harm, because they show that harm to Defendant Cheng

is, at best, speculative. See Winter v. NRDC, Inc., 555 U.S. 7, 22 (2008) (“Issuing a

preliminary injunction based only on a possibility of irreparable harm is inconsistent with

our characterization of injunctive relief as an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.”); Nabors, 2022

U.S. Dist. LEXIS 29431, at *8-9 (“A bare assertion of irreparable harm, or even a




                                            7
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 10 of 18




possibility of irreparable harm, is not sufficient…”) (internal citations and quotations

omitted).

       First, Defendant Cheng suggests that because he cannot sell the infringing products

on Amazon, this will result in immeasurable harm. But lost sales are calculable, and thus,

are compensable by money damages. See Bluefield Water Ass’n, Inc. v. City of Starkville,

577 F.3d 250, 253 (5th Cir. 2009) (concluding no irreparable injury where the harm is

financial and monetary compensation will make plaintiff whole); Pruvit Ventures, Inc. v.

ForeverGreen Int’l LLC, 2015 U.S. Dist. LEXIS 174982, at *12 (E.D. Tex. Dec. 23, 2015)

(“Moreover, under both Fifth Circuit precedent and Federal Circuit precedent, a harm is

irreparable where there is no adequate remedy at law such as monetary damages.

Accordingly, Defendants here must demonstrate that monetary damages are an insufficient

remedy…”) (internal citations and quotations omitted); Bright Data v. Teso Lt, 584 F.Supp.

3d 193, 196-97 (Feb. 10, 2022) (denying request for injunctive relief even there the parties

were competitors because the movant’s identified harms, loss of market share, loss of sales,

and lost profits, were compensable by money damages). Moreover, Defendant Cheng sells

several other products on Amazon, including other earmuff designs that do not infringe

GSM’s intellectual property rights. See Exhibit A and Exhibit B. There can be no

irreparable harm from lost sales when only a fraction of Defendant Cheng’s products have

been removed from Amazon.

       Second, Defendant Cheng suggests that he is suffering irreparable harm in the form

of reputational damage. But “the showing of reputational harm must be concrete and

corroborated, not merely speculative.” Pruvit, 2015 U.S. Dist. LEXIS at *17 (internal
                                             8
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 11 of 18




citations and quotations omitted); Nabors, 2022 U.S. Dist. LEXIS 29431, at *10 (finding

that the allegation of reputational harm was “entirely speculative” where the movant only

offered attorney argument, instead of evidence, to support its claim of reputational harm).

Defendant Cheng’s bare assertion that he is suffering reputational damages, without any

explanation or corroborating evidence, simply cannot support a finding of irreparable harm.

        Because Defendant Cheng has wholly failed to carry his burden to show irreparable

harm in the absence of an injunction, the motion should be denied in its entirety.

   C. Defendants have not shown a likelihood of success on the merits.

        Given their utter failure to meet their burden on the irreparable harm factor,

Defendants’ motion should be denied. However, as argued below, Defendants’ motion

should also be denied for their failure to show likelihood of success on the merits. Because

Defendants’ merits arguments read like 12(b)(6) arguments, GSM will respond to them as

such.

   1. Defendants are not likely to defeat GSM’s trade dress infringement claims.

        As an initial matter, Defendants repeatedly mention the fact that GSM’s trade dress

is “unregistered” as though that is somehow case dispositive. See, e.g., Dkt. 18 at 4. But

there is no requirement that GSM register its trade dress, because the Lanham Act explicitly

provides for recovery of infringement of an unregistered trade dress. See CTC Int’l, Inc. v.

Supply Change, LLC, 2022 U.S. Dist. LEXIS 169870, at *5-6 (W.D. Tex. Sept. 19, 2022)

(“To succeed on a claim of infringement of unregistered product design trade dress under

the Lanham Act, a plaintiff must establish that its trade dress is not functional and has

acquired secondary meaning, and that there is a likelihood of consumer confusion.”).

                                             9
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 12 of 18




       Defendants argue that GSM is unlikely to succeed on the merits of its Lanham Act

claims because GSM “has not asserted any discrete elements that are protected by its

unregistered trade dress.” Dkt. 18, p. 5. But GSM’s First Amended Complaint alleged that

its trade dress consists of the overall image, design, and appearance of its electronic ear

mugs, including its “size, shape, color, color combinations, texture or graphics aspects,”

all of which are non-functional. See, e.g., Dkt. 6, ¶ 59. This is sufficient for the pleading

stage. See Amazing Spaces, Inc. v. Metro Mini Storage, 608 F.3d 225, 251 (5th Cir. 2010)

(“Trade dress refers to the total image and overall appearance of a product and may

include features such as the size, shape, color, color combinations, textures, graphics,

and even sales techniques that characterize a particular product.”) (emphasis added);

see also Yeti Coolers, LLC v. JDS Indus., Inc., 300 F.Supp. 3d 899, 911 (W.D. Tex. March

9, 2018) (finding that plaintiff's articulation of “design and appearance of the profile” and

“the style line, the color contrasts, and the tapers of the side walls” sufficient). Thus, GSM

has sufficiently identified the discrete elements of its trade dress. Finally, GSM has

submitted a letter to the Court requesting a pre-motion conference so that it may amend its

FAC to identify its trade dress with more specificity.

       Second, Defendants argue that GSM’s products do not have secondary meaning

because other companies sell similar products online. Dkt. 18, p. 5-6. Defendants cite no

law to support this bizarre statement. Id. Merely because third parties have copied GSM’s

design and/or also sell electronic earmuffs does not negate GSM’s trade dress rights in the

specific product design of its earmuffs. If that were true, no company could ever claim

trade dress rights in its specific product designs, simply because third parties were selling
                                             10
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 13 of 18




the same product. Moreover, GSM has sufficiently alleged in its First Amended Complaint

that its earmuffs have acquired secondary meaning:

       The Walker’s® Razor® electronic ear muffs have been on the market for eight
       years, are featured in advertisements, displayed at trade shows; and are recognized
       by both retailers and end consumers. Furthermore, Courts have found “[p]roof of
       copying strongly supports an inference of secondary meaning.” Jason Scott
       Collection, Inc. v. Trendily Furniture, LLC. 68 F. 4th 1203, *10 (9th Cir. 2023),
       citing Adidas Am., Inc. v. Skechers USA, Inc., 890 F.3d 747, 755 (9th Cir. 2018).
       Secondary meaning has also been found to be “a mental recognition in buyers’ and
       potential buyers’ minds that products connected with the [trade dress] are associated
       with the same source.” Jason Scott Collection, Inc., 68 F. 4th at *16, citing Japan
       Telecom, Inc. v. Japan Telecom America Inc., 287 F.3d 866, 873 (9th Cir. 2002).

Dkt. 6, ¶ 60. These allegations are sufficient to survive the 12(b)(6) standard. Yeti Coolers,

LLC, 2017 U.S. Dist. LEXIS at *18-19 (finding allegations of extensive and continuous

use of the trade dress, significant sales of the product, and expenditure of resources in

advertising the trade dress sufficient to survive 12(b)(6)).

       Even further, GSM’s First Amended Complaint identified various consumers

statements that clearly demonstrate that GSM’s trade dress has acquired secondary

meaning:

     In one YouTube video, a consumer identified Defendants’ infringing earmuffs as

       “clearly a direct copy” of GSM’s earmuffs, and stated he believed that both

       products “come from the same factor.” Dkt. 6, ¶ 61.

     In a second YouTube video, a consumer did a side-by-side comparison of the

       products, stating “these are obviously made by the exact same manufacturer.” Dkt.

       6, ¶ 62.




                                             11
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 14 of 18




     In a third YouTube video, a consumer stated that because the walkie talkie of

       GSM’s earmuffs exactly fits the infringing earmuffs, “my assumption is that they

       are 100 percent coming out of the same factory…” Dkt. 6, ¶ 63.

Medical-Legal Consulting Inst., Inc. v. Evans & Assocs., 2007 U.S. Dist. LEXIS 107733,

at *7 (S.D. Tex. Aug. 29, 2007) (“The strongest indicator of secondary meaning is proof

of actual confusion among consumers.”) (quoting J. MCCARTHY, 2 MCCARTH ON

TRADEMARKS AND UNFAIR COMPETITION § 15:11 (4th ed.1996). Defendants are not likely

to defeat GSM’s trade dress claims and their motion should be denied on this additional

basis. Finally, GSM has submitted a letter to the Court requesting a pre-motion conference

so that it may amend its FAC to add specificity to its secondary meaning claims.

   2. Defendants are not likely to defeat GSM’s copyright infringement claims.

       Defendants argue that GSM cannot win on its copyright claim because GSM “is

improperly expanding its copyright into the arena of design patents.” Dkt. 18 at p. 3. This

argument is premised on a single case, Ultraflo. But in Ultraflo, the issue before the Fifth

Circuit was whether the district court had erred in ruling that Ultraflo’s unfair competition

claim was preempted by the copyright laws, not whether a copyright claim is preempted

by the patent laws. Ultraflo Corp. v. Pelican Tank Parts, Inc., 845 F.3d 652, 653, 655 (5th

Cir. 2017), cert. denied, 137 S. Ct. 2266, 198 L. Ed. 2d 699 (2017). In fact, in Ultraflo, the

defendant had even moved to dismiss Ultraflo’s copyright claims from the pleadings on

the basis that Ultraflo did not have a copyright registration, Ultraflo had not identified its

copyright with sufficient particularity, and Ultraflo could not maintain that its public

copyright was simultaneously trade secret. Id. at 654; Exhibit C at 5-7. The defendant never
                                             12
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 15 of 18




argued that Ultraflo’s copyright claim was barred by the patent laws. Indeed, the copyright

claims ultimately survived the dismissal stage and were tried by a jury. Thus, Ultraflo does

not apply to this case.

   3. Defendants have not shown that GSM’s state law claims are preempted.

       Defendants provide a single sentence from a case which states that the preemption

statute “preempts state protection of works that fall within the subject matter…of

copyright…” then vaguely argue that GSM’s “multiple claims against Defendant of

violation of state law, common law, and equity are thus preempted by the Copyright Act.”

Dkt. 18, p. 6. GSM has asserted five separate state law claims, including trade dress

dilution, common law trade dress infringement, common law unfair competition, common

law misappropriation, and unjust enrichment. Dkt. 6, pp. 28-34. Except for the conclusory

statements identified above, Defendants offer no argument or explanation to support their

position that each of these five claims are preempted. Defendants do not even make

separate arguments as to why each of these five claims is preempted, instead lumping all

five claims together.

       Though Defendants failed to adequately brief the Court on preemption law, GSM

will do so here and demonstrate to the Court that its claims are not preempted. Courts apply

a two-part to determine whether the Copyright Act preempts a state cause of action: (1) is

the intellectual property within the subject matter of copyright, and (2) if so, does the state

law claim protect rights in that property that are equivalent to any of the exclusive rights

within the general scope of copyright? 17 U.S.C. § 301(a); see also Ultraflo, 845 F.3d at

656.
                                              13
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 16 of 18




       First, GSM’s trade dress dilution claim requires a showing of dilution and GSM’s

unfair competition claim is premised on consumer confusion. See Dkt. 6, pp. 28-30, 31-32.

Neither claim is established solely on the basis of Defendants’ copying, and thus, neither

claim is preempted. See Worth Beauty LLC v. Allstar Prods. Grp., LLC, 2017 U.S. Dist.

LEXIS 187392, at *29 (S.D. Tex. Nov. 13, 2017) (holding that trade dress dilution and

unfair competition claims were not preempted by the copyright laws because they required

a showing of the qualitatively different elements of consumer confusion and likelihood of

dilution, respectively).

       Second, GSM’s unjust enrichment claim similarly is not preempted, because it

requires a showing that Defendants took undue advantage of GSM. Dig. Drilling Data Sys.,

L.L.C. v. Petrolink Servs., 965 F.3d 365, 379-80 (holding that an unjust enrichment claim

was not preempted because it did not require a showing of mere copying, but required

establishing wrongful conduct, i.e. the taking of an undue advantage).

       Third, as explained by a Court in this Circuit, trade dress infringement claims are

not preempted by the copyright laws:

       “The federal Copyright Act does not preempt the federal Lanham Act [which
       protects trade dress], or vice-versa. In fact, it is common practice for
       copyright owners to sue for both.... Such a litigation posture has never been
       disallowed by the courts on grounds of either preemption or impermissible double
       recovery." Alameda Films SA de CV v. Authors Rights Restoration Corp. Inc., 331
       F.3d 472, 482 (5th Cir. 2003). And so, to the extent that the claims are based on
       accusations of trade dress infringement, they are not preempted.

Based on the same reasoning, GSM’s state law trade dress infringement claims are not

preempted.



                                           14
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 17 of 18




   D. The balance of harm favors GSM.

       As noted above, in addition to losing sales due to Defendants’ infringement,

consumers have also noted that Defendants’ products are knock-offs of GSM’s, which

indicates a strong potential for consumer confusion and loss of goodwill if Defendants

are permitted to sell their infringing products on Amazon. Because Defendants have

wholly failed to carry their burden to show they are likely to succeed on the merits and

have offered minimal, speculative evidence to support their contention of irreparable

harm, the balance of harm favors GSM and weighs against granting an injunction.

   E. The public interest weighs against an injunction.

       As alleged in GSM’s Complaint, GSM’s electronic earmuffs comply with the

Environmental Protection Agency’s Noise Reduction Ratings Requirements under 40

C.F.R. Part 211, Subpart B. Dkt. 6, ¶¶ 20-21. All hearing protectors manufactured for

distribution in the United States are subject to the testing and labelling requirements of

the EPA regulations, for the health and safety of those who use the protectors. While

GSM complies with the EPA regulations, it is unknown whether Defendants comply with

these same requirements in selling their knock-off earmuffs. Thus, an injunction would

permit Defendants to potentially sell products that risk the health and safety of

consumers. Moreover, “[t]he public interest is always served by requiring compliance

with Congressional statutes such as the Lanham Act…” T-Mobile US, Inc. v. AIO

Wireless LLC, 991 F.Supp.2d 888, 928 (S.D. Tex. 2014). Thus, the public interest

weighs in favor of denying Defendants’ request for an injunction.



                                             15
    Case 4:23-cv-02371 Document 25 Filed on 09/14/23 in TXSD Page 18 of 18




Dated: September 14, 2023                             Respectfully submitted,

                                                      /s/ J. David Cabello
                                                      J. David Cabello
                                                      Attorney-in-charge
                                                      Texas Bar No. 03574500
                                                      S.D. Texas I.D. No. 3514
                                                      Email: david@chzfirm.com
                                                      Munira Jesani
                                                      Texas Bar No. 24101967
                                                      S.D. Texas I.D. No. 3019538
                                                      Email: mjesani@chzfirm.com
                                                      CABELLO HALL ZINDA,
                                                      PLLC
                                                      801 Travis Street, Suite 1610
                                                      Houston, TX 77002
                                                      Tel.: 832.631.9990
                                                      Fax: 832.631.9991

                                                      ATTORNEYS FOR PLAINTIFF
                                                      GSM




                            CERTIFICATE OF SERVICE

       The undersigned certifies that on September 14, 2023, counsel for GSM initiated
service of the foregoing document via the Court’s ECF system.


                                               /s/ John Watkins
                                               John Watkins
                                               Paralegal




                                          16
